                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

MISSOURI PRIMATE FOUNDATION,                    )
et al.,                                         )
                                                )
              Plaintiffs and                    )
              Counterclaim Defendants,          )
                                                )
v.                                              )         Case No. 4:16-cv-02163
                                                )
PEOPLE FOR THE ETHICAL                          )
TREATMENT OF ANIMALS, INC., et al.,             )
                                                )
              Defendants and                    )
              Counterclaim Plaintiffs.          )

      DECLARATION OF JARED GOODMAN IN SUPPORT OF COUNTERCLAIM
          PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT AGAINST
              COUNTERCLAIM DEFENDANT ANDREW SAWYER

I, Jared Goodman, declare as follows:

     1.    The facts contained in this Declaration are known personally to me and, if called as a

witness, I could and would testify competently thereto under oath.

     2.    I am duly licensed to practice law in California, New York, and Washington D.C.,

and am admitted pro hac vice to practice in the United States District Court for the Eastern

District of Missouri for this matter. I am the Deputy General Counsel for Animal Law for the

Foundation to Support Animal Protection (a/k/a the PETA Foundation) and represent the

Counterclaim Plaintiffs People for the Ethical Treatment of Animals, Inc. and Angela Scott

(“Plaintiffs”) in the above-captioned case. I submit this Declaration in support of Counterclaim

Plaintiff’s Motion for Summary Judgment against Counterclaim Defendant Andrew Sawyer.

     3.    In my capacity as Plaintiff’s counsel in this case, I bore primary responsibility to

oversee the receipt and review of Counterclaim Defendants’ (“Defendants”) answers to
Plaintiffs’ discovery requests and to oversee the gathering of information and documents to

respond to Defendants’ discovery requests.

   4.         Defendants did not Bates stamp or otherwise number any documents produced in

response to Plaintiff’s various requests, so I have done so.

   5.         Attached hereto as Exhibit A are true and correct copies of Connie Braun Casey’s

(“Casey”) United States Department of Agriculture (“USDA”) inspection reports detailing

Casey’s citations from 1998 to 2016, produced by Plaintiffs and bearing Bates numbers PETA-

00001-72, PETA-00075-119, and PETA-00121-125. Casey has stipulated to their authenticity.

[ECF No. 121, at 3.]

   6.         Attached hereto as Exhibit B is a true and correct copy of the March 3, 2014, USDA

Letter of Information issued to Casey, produced by Plaintiffs and bearing Bates numbers PETA-

00073-74. Casey has stipulated to its authenticity. [ECF No. 121, at 3.]

   7.         Attached hereto as Exhibit C is a true and correct copy of the February 9, 2015,

USDA Official Warning of Violation of Federal Regulations, Case No. MO150029, issued to

Casey and produced by Plaintiffs, bearing Bates number PETA-00120. Casey has stipulated to

its authenticity. [ECF No. 121, at 3.]

   8.         Attached hereto as Exhibit D is a true and correct copy of an “Enrichment Log”

produced by Casey, bearing Bates numbers CASEY-00008-63 (added by Plaintiffs for ease of

reference).

   9.         Attached hereto as Exhibit E is a true and correct copy of a diagram of the

chimpanzee enclosures at Casey’s facility, produced by Casey, bearing Bates number CASEY-

00066 (added by Plaintiffs for ease of reference).




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   10.        Attached hereto as Exhibit F is a true and correct copy of partial list of chimpanzees

“on hand” at Casey’s facility, produced by Casey, bearing Bates number CASEY-00321 (added

by Plaintiffs for ease of reference).

   11.        Attached hereto as Exhibit G are true and correct copies of representative

photographs of Joey and his enclosure at Casey’s facility, bearing Bates numbers PETA-00846-

47. A PETA representative represents that she took these photographs on August 21, 2014, and

that they accurately represent the then-existing conditions.

   12.        A true and correct copy of representative video of Joey and his enclosure at Casey’s

facility, bearing Bates numbers PETA-00699, 700, and 739-741, are embedded into this

Declaration and can be viewed by clicking on Exhibit H. A PETA representative represents that

she took these videos on July 2, 2014, and that they accurately represent the then-existing

conditions.

   13.        A true and correct copy of representative video of Joey and his enclosure at Casey’s

facility, bearing Bates numbers PETA-00816-17, are embedded into this Declaration and can be

viewed by clicking on Exhibit I. A PETA representative represents that she took these videos on

August 20, 2014, and that they accurately represent the then-existing conditions.

   14.        A true and correct copy of representative video of Joey and his enclosure at Casey’s

facility, bearing Bates numbers PETA-00865-68, 880, and 884, are embedded into this

Declaration and can be viewed by clicking on Exhibit J. A PETA representative represents that

she took these videos on August 21, 2014, and that they accurately represent the then-existing

conditions.

   15.        Attached hereto as Exhibit K is a true and correct copy of the USDA’s Final Report

on Environmental Enhancement to Promote the Psychological Well-Being of Nonhuman



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Primates (“USDA Report”), which enunciates the USDA’s “policy on environment enhancement

to promote the psychological well-being of nonhuman primates,” interprets the regulation

published in 9 C.F.R. § 3.81, and “explains the scientific basis for the policy and how it was

developed.” The USDA Report bears Bates numbers PETA-00125-97, is publicly available at

https://www.nal.usda.gov/sites/default/files/environmentalenrichmentnhp_0.pdf, and was last

accessed on March 12, 2019.

   16.      Attached hereto as Exhibit L is a true and correct copy of a sworn affidavit of

Counterclaim Plaintiff Angela Scott, produced by Plaintiffs and bearing Bates numbers PETA-

01979-85.

   17.      Attached hereto as Exhibit M is a true and correct copy of a sworn declaration of

Gwendolen Reyes-Illg, DVM, and accompanying Exhibit A to that declaration, her written

report titled “Expert Report on the Chimpanzee ‘Joey,’” produced by Plaintiffs pursuant to

Federal Rule of Civil Procedure 26(a)(2).

   18.      Attached hereto as Exhibit N is a true and correct copy of a sworn declaration of

Mary Lee Jensvold, Ph.D., and accompanying Exhibit A to that declaration, her written report

titled “Expert Report on the Chimpanzee ‘Joey,’” produced by Plaintiffs pursuant to Federal

Rule of Civil Procedure 26(a)(2).

   19.      Attached hereto as Exhibit O is a true and correct copy of a sworn declaration of

Stephen Ross, Ph.D., and accompanying Exhibit A to that declaration, his written report titled

“Expert Report on the Chimpanzee ‘Joey,’” produced by Plaintiffs pursuant to Federal Rule of

Civil Procedure 26(a)(2).

   20.      Attached hereto as Exhibit P is a true and correct copy of relevant excerpts of the

transcript of the October 29, 2018 deposition of Connie Braun Casey.



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   21.      Attached hereto as Exhibit Q is a true and correct copy of relevant excerpts of the

transcript of the June 27, 2018 deposition of Douglas Pernikoff.

   22.      Attached hereto as Exhibit R is a true and correct copy of Connie Braun Casey’s

Amended Objections and Answers to Counterclaim Plaintiffs First Interrogatories, served by

Casey on October 12, 2018.

   23.      Attached hereto as Exhibit S is a true and correct copy of Connie Braun Casey’s

Supplemental Responses to Counterclaim Plaintiffs’ First Requests for Admission to

Counterclaim Defendant Connie Braun Casey, served by Casey on December 17, 2018.

   24.      Attached hereto as Exhibit T is a true and correct copy of the first two pages of

Douglas Pernikoff’s document production, produced pursuant to subpoena on March 26, 2018,

and bearing Bates numbers PERNIKOFF-00001-2 (added by Plaintiffs for ease of reference).



         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.



March 18, 2019                                                /s/ Jared Goodman

Los Angeles, California                                       Jared Goodman




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